

ORDER

PER CURIAM:
AND NOW, this 4th day of May, 1999, Meridith Patricia Solvibile having been suspended from the practice of law in the State of New Jersey for a period of six months by Order of the Supreme Court of New Jersey dated September 23, 1998; the said Meridith Patricia Solvibile having been directed on February 24, 1999, to inform this Court of any claim she has that *474the imposition of discipline in this Commonwealth pursuant to Rule 216(a) and (c)(4), Pa.R.D.E., would be unwarranted and the reasons therefor; and upon consideration of the responses filed, it is
ORDERED that Meridith Patricia Solvi-bile is suspended from the practice of law in this Commonwealth for a period of one year, and she shall comply with all the provisions of Rule 217, Pa.R.D.E.
